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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 21-23675-CIV-ALTMAN-Reid

 DISTRICT THEATERS, INC. et al.,

         Plaintiffs,

 v.

 CINEMEX HOLDINGS, USA, INC. et al,

       Defendants.
 ______________________________________/

                        ORDER REQUIRING SCHEDULING REPORT
                       AND CERTIFICATES OF INTERESTED PARTIES

         By November 5, 2021, the parties, including governmental parties, must file certificates of

 interested parties and corporate disclosure statements that contain a complete list of persons,

 associated persons, firms, partnerships, or corporations that have a financial interest in the outcome

 of this case, including subsidiaries, conglomerates, affiliates, parent corporations, and other identifiable

 legal entities related to a party. Throughout the pendency of the action, the parties are under a

 continuing obligation to amend, correct, and update the certificates.

         DONE AND ORDERED in Miami, Florida this 25th day of October 2021.




                                                             ________________________________
                                                             ROY K. ALTMAN
                                                             UNITED STATES DISTRICT JUDGE

 cc:     counsel of record
